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IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

Case No. CV 19-10459 MRW

MIRNA G..,!
Plaintiff, JUDGMENT
V.
ANDREW SAUL,

Commissioner of Social Security,

Defendant.

 

 

It is the judgment of this Court that the decision of the
Administrative Law Judge is VACATED, and the matter is REMANDED to
the Social Security Administration on an open record for further

proceedings consistent with the Court’s Order.

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HON. MICHAEL R. WILNER
U.S. MAGISTRATE JUDGE

Date: November 9, 2020

 

 

 

1 Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and
the recommendation of the Committee on Court Administration and Case Management of the
Judicial Conference of the United States.

 
